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            EXHIBIT A
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      15                                     UNITED STATES DISTRICT COURT
      16                                  NORTHERN DISTRICT OF CALIFORNIA
      17                                               SAN JOSE DIVISION
      18       ABDUL NEVAREZ, PRISCILLA NEVAREZ, and Case No.: 5:16-cv-07013 -LHK
               SEBASTIAN DEFRANCESCO, on behalf of
      19       themselves and all others similarly situated, PLAINTIFF ABDUL NEVAREZ’S
                                                             INTERROGATORIES PROPOUNDED ON
      20             Plaintiffs,                             FORTY NINERS FOOTBALL COMPANY
                                                             LLC, FORTY NINERS SC STADIUM
      21       vs.                                           COMPANY LLC & FORTY NINERS
                                                             STADIUM MANAGEMENT COMPANY
      22       FORTY NINERS FOOTBALL COMPANY, LLC, LLC
               a Delaware limited liability company, et al.,
      23                                                     (SET ONE)
                     Defendants.
      24                                                     Before: Hon. Lucy H. Koh
                                                             Complaint Filed: December 7, 2016
      25                                                     Trial Date: April 22, 2019

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                    PL. ABDUL NEVAREZ’S INTERROGATORIES PROPOUNDED ON DEFS. (SET ONE) – CASE NO. 5:16-CV-07013-LHK
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           1   PROPOUNDING PARTY: Plaintiff Abdul Nevarez
           2   RESPONDING PARTY:              Defendants FORTY NINERS FOOTBALL COMPANY LLC;
                                              FORTY NINERS SC STADIUM COMPANY LLC; FORTY NINERS
           3                                  STADIUM MANAGEMENT COMPANY LLC
           4   SET NO.:                       ONE (1)

           5          Pursuant to Federal Rule of Civil Procedure 26, Plaintiff Abdul Nevarez propounds his first set

           6   of interrogatories on Defendants FORTY NINERS FOOTBALL COMPANY LLC; FORTY NINERS

           7   SC STADIUM COMPANY LLC; FORTY NINERS STADIUM MANAGEMENT COMPANY LLC

           8   (“Defendants”). Under the provisions of Federal Rule of Civil Procedure 33, Defendants are required

           9   to serve full and complete written responses within thirty (30) days of service hereof to Plaintiffs’

      10       counsel of record. You are requested to set out each interrogatory prior to the answer directed to it.

      11              For each interrogatory or part of each interrogatory which the Defendants refuse to answer on

      12       the ground of privilege, state the specific nature of the privilege claimed with appropriate citation to

      13       the relationship or information claimed to be privileged and the reason for this privilege.

      14              These requests are continuing in nature and require supplemental responses as provided by

      15       Rule 26 of the Federal Rules of Civil Procedure.

      16              In answering these interrogatories, furnish all information as it is available to you, including

      17       information in the possession of your attorneys, investigators, employees, agents and representatives,

      18       and not merely information of your own personal knowledge.

      19              If you cannot answer the following interrogatories in full after exercising due diligence, answer

      20       the remainder and state whatever information or knowledge you have concerning the unanswered

      21       portion.

      22              If any interrogatory calls for a description of a document, photograph, or other writing or thing,

      23       describe it in detail sufficient to satisfy the requirements for issuance of a subpoena, or in lieu thereof,

      24       attach a copy of such document to your answers to interrogatories.

      25                                                   DEFINITIONS

      26              1.      “ADDRESS” means the street address, including the city, state, and zip code.

      27              2.      “DEFENDANT” shall mean and refer to the defendants FORTY NINERS FOOTBALL

      28       COMPANY LLC, FORTY NINERS SC STADIUM COMPANY LLC, FORTY NINERS STADIUM

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                     PL. ABDUL NEVAREZ’S INTERROGATORIES PROPOUNDED ON DEFS. (SET ONE) – CASE NO. 5:16-CV-07013-LHK
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           1   MANAGEMENT COMPANY LLC, or any subsidiary, division, related company, officer, director,

           2   partner, employee, agent, board of directors, board member, and representative of those entities.

           3          3.      The singular shall include the plural and vice versa; the terms “and” and “or” shall be

           4   both conjunctive and disjunctive; the term “including” means “including without limitation.”

           5          4.      If any request is defined using a term of art or other terms that you believe to be

           6   incorrect, but you understand the nature of the information requested, you should respond

           7   notwithstanding the semantic or definitional error or ambiguity.

           8                                          INTERROGATORIES
           9   INTERROGATORY NO. 1:
      10              Identify by name, ADDRESS, telephone number, and email address all persons who purchased

      11       accessible seating tickets from DEFENDANTS for any event held at Levi’s Stadium on or after July

      12       17, 2014. This interrogatory seeks only information within the possession, custody, and/or control of

      13       DEFENDANT.

      14       INTERROGATORY NO. 2:
      15              Identify by name, ADDRESS, telephone number, and email address all persons who purchased

      16       accessible parking passes from DEFENDANTS for any event held at Levi’s Stadium on or after July

      17       17, 2014. This interrogatory seeks only information within the possession, custody, and/or control of

      18       DEFENDANT.
      19

      20       Dated: October 6, 2017                     Respectfully submitted,

      21                                                  GOLDSTEIN, BORGEN, DARDARIAN & HO

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      23                                                  Andrew P. Lee
                                                          Attorneys for Plaintiffs and the Proposed Classes
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